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   UNITED STATES DISTRICT COURT                            EASTERN DISTRICT OF TEXAS


  UNITED STATES OF AMERICA                       §
                                                 §
  versus                                         §          CASE NO. 4:14-CR-53(1)
                                                 §
  CYRUS GHARIB                                   §

                                 MEMORANDUM AND ORDER

           Defendant Cyrus Gharib’s (“Gharib”) pro se Motion to Include Documentation of Support

  for Pending Petition for Reduction of Sentence (#499) is denied as moot. On August 13, 2021,

  the court entered an order denying Gharib’s pro se Motion to Reduce Sentence (#483); Gharib has

  no other pending motions before this court.


            Signed this date
            Sep 24, 2021
